           Case 1:19-sw-00088-JFA Document 1 Filed 02/11/19 Page 1 of 33 PageID# 1
AO 106(Rev.04/10) Applic^jgi


                                            iTED States District Court
                                                                    for the
                                                         Eastern District of Virginia
                                                                                                                                   2019
             In the Matter of the Search of
                                                                       )
         (Briefly describe the property to be searched                                                             CLERK, U.S. DISTRICT COURT
          or identify the person by name and address)                                                                 ALEXANDRIA. VIRGINIA
                                                                                  Case No. 1:19-sw-88
     Information associated with the email accounts
  HULLAH(gUSAGM.GOVand HULLAH@BBG.GOV                                                     UNDER SEAL
         stored at premises controlled by USAGM

                                            APPLICATION FOR A SEARCH WARRANT

        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that 1 have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

 See Attachment A

located in the              Eastem                District of              Virginia           ,there is now concealed (identify the
person or describe the property to be seized)'.

 See Attachment B


          The basis for the search under Fed. R. Grim. P. 41(c) is (check one or more)'.
                afevidence ofa crime;
                sfcontraband, fruits ofcrime, or other items illegally possessed;
                sTproperty designed for use, intended for use, or used in committing a crime;
                 □ a person to be arrested or a person who is unlawfully restrained.

          The search is related to a violation of:

             Code Section                                                         Ojfense Description
        18U.S.C. §1343                             Wire Fraud
        18U.S.C.§1028A                             Aggravated Identity Theft
        18U.S.C.§287                               Submitting False Claims
          The application is based on these facts:
        See attached affidavit


           isf Continued on the attached sheet.
           □ Delayed notice of       days (give exact ending date if more than 30 days                                   ) is requested
             under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sftiefet.


                                                                                             ^piicanrv signature

                                                                                         Lisa ^ikirffeli, Special Agent
                                                                                             Printed name and title

Sworn to before me and signed in my presence.
                                                                                              ./SI.
                                                                                John F. Anderson
Date:                          2^1^                                             United States Magistrate Judge
                                                                                               Judge's signature

City and state: Alexandria, Virginia                                        JOHN F. ANDERSON, United States Magistrate Judge
                                                                                             Printed name and title
   Case 1:19-sw-00088-JFA Document 1 Filed 02/11/19 Page 2 of 33 PageID# 2




                                     ATTACHMENT A


                                   Property to be Searched

This warrant applies to information associated with the following email account:

       hullah@usagm.goy(formerly hullah@bbg.goy)

which is stored at premises controlled by USAGM,a government agency headquartered at 330

Independence Avenue SW,Washington, D.C. 20237.
   Case 1:19-sw-00088-JFA Document 1 Filed 02/11/19 Page 3 of 33 PageID# 3




                                        ATTACHMENTS


                                  Particular Things to be Seized

    I.        Information to be disclosed by USAGM("USAGM")

         For the account listed in Attachment A,to the extent that the information described in

Attachment A is within the possession, custody, or controlof USAGM,including any e-mails,

records, files, logs, or information that has been deleted but is still available to USAGM,or has

been preserved since approximately October 30,2018, USAGM is required to disclose the

following information to the government for the period of account inception to the present:

         a.     The contents of all electronic communications associated with the account,

including stored or preserved copies of e-mails sent to and from the account, draft e-mails, files,

all attachments to emails and other communications(including the native files), the source and

destination addresses associated with each communication, all email header information, the date

and time at which each e-mail was sent, and the size and length of each e-mail;

         b.     All records or other information regarding the identification ofthe account, to

include full name,physical address, telephone numbers and other identifiers, records of session

times and durations, the date on which the account was created, the length ofservice, the IP

address used to register the account,log-in IP addresses associated with session times and dates,

account status, alternative e-mail addresses provided during registration, methods ofconnecting,

log files, and means and source ofpayment(including any credit or bank accoimt number);

         c.     The types of service utilized;

         d.     All device information associated with the account;
   Case 1:19-sw-00088-JFA Document 1 Filed 02/11/19 Page 4 of 33 PageID# 4




          e.      All records or other information stored at any time by an individual using the

account, including address books, contact and buddy lists, chat lists, calendar data, pictures, and

files;

          f.      All records pertaining to communications between USAGM and any person

regarding the account, including contacts with support services and records ofactions taken.

          g.      For all information required to be disclosed pursuant to this warrant, the physical

location or locations where the information is stored.


    11.        Information to be seized by the government

          All informatipn described above in Section I that constitutes finits, contraband, evidence

and instrumentalities of violations of wire fraud(18 U.S.C. § 1343), aggravated identity theft

(18 U.S.C. § 1028A),and false claims(18 U.S.C. § 287),involving HAROON K. ULLAH and

any other co-conspirators, including,for the email account listed on Attachment A,information

pertaining to the following matters:

          a.      The email and information will contain evidence that ULLAH is involved in

defrauding the United States through the submission offraudulent vouchers,falsified supporting

invoices,receipts, and letters, as described in the Affidavit in support ofprobable cause. The

account will contain evidence ofcommunications between ULLAH,USAGM,and third parties

in furtherance ofhis wire fraud, false claims and identity theft schemes;

          b.      Information relating to templates, receipts, communications,logos, photos,

bitmap files, and other fragments ofdocuments and document history showing the preparatory

steps ULLAH took to create false documents;
   Case 1:19-sw-00088-JFA Document 1 Filed 02/11/19 Page 5 of 33 PageID# 5




        c.     Information relating to the use ofthe criminal proceeds, the creation and

maintenance offinancial accounts, financial transfers and transactions, the possession of

monetary instruments, the disbursement offunds;

        d.     Information related to hotel invoices and/or reservations, travel plans,taxi

receipts, ridesharing receipts, airline tickets, airline receipts, vehicle rental agreements, or other

documents pertaining to any airline U.S. or foreign-based;

       e.      Information relating to who created, used, or communicated with the accoimt,

including records about their identities and whereabouts;

       f.      Evidence indicating the email account holder's state of mind as it relates to the

crime under investigation;

       g.      Information that would link the email account to other email accounts controlled

by the subscriber;

       h.      Evidence indicating how and when the email account was accessed and used,

including IP logs, passwords, geo-locational information or other records that will help establish

the location ofthe account user.
   Case 1:19-sw-00088-JFA Document 1 Filed 02/11/19 Page 6 of 33 PageID# 6




                  IN THE UNITED STATES DISTRICT COURT FOR TH
                             EASTERN DISTRICT OF VIRGINIA
                                  ALEXANDRIA DIVISION
                                                                                       FEB ! I 2019

                                                                                   CLERK, U.S. DISTRICT COURT
                                                                                       ALEXANDRIA. VIRGINIA
IN THE MATTER OF THE SEARCH OF
INFORMATION ASSOCIATED WITH
THE EMAIL ACCCOUNT                                          Case No. l:19-sw-88
HULLAH@USAGM.GOV,and
HULLAH@BBG.GOV
THAT IS STORED AT PREMISES                                  UNDER SEAL
CONTROLLED BY THE U.S. AGENCY
FOR GLOBAL MEDIA



                             AFFIDAVIT IN SUPPORT OF AN
                       APPLICATION FOR A SEARCH WARRANT

       I, Lisa Warffeli, being first duly sworn, hereby depose and state as follows:

                     INTRODUCTION AND AGENT BACKGROUND

       1.     I make this affidavit in support of an application for a search warrant for

information associated with a certain email account, hullah@usagm.gov,formerly identified as

hullah@bbg.gov (herein collectively referred to as the"TARGET EMAIL ACCOUNT")that

is stored at the premises controlled by the U.S. Agency for Global Media(USAGM),a

government agency located at 330 Independence Avenue SW,Washington, D.C. 20237.

USAGM assigned the TARGET EMAIL ACCOUNT to Haroon K. Ullah("ULLAH"),a

member ofthe senior executive service and a top official at USAGM,as discussed further below.

The information to be searched is described in the following paragraphs and in Attachment A.

This affidavit is made in support of an application for a search warrant under 18 U.S.C. §§

2703(a), 2703(b)(1)(A), and 2703(c)(1)(A)to require USAGM to disclose to the government

copies ofthe information, including the content ofcommunications,further described in

Attachment B. Pursuant to 18 U.S.C. § 2703(g), the presence ofa law enforcement officer is not
    Case 1:19-sw-00088-JFA Document 1 Filed 02/11/19 Page 7 of 33 PageID# 7




required for the service or execution ofthis warrant. Upon receipt ofthe information described in

Section I of Attachment B, government-authorized persons will review that information to locate

the items described in Section II of Attachment B.


        2.     Although hullah@usagiii.gov and hullah@bbg.gov are government email

addresses and both are controlled by a government agency, I seek this search warrant out of an

abundance ofcaution should ULLAH ever assert he had a reasonable expectation ofprivacy

when using his government email account.'

        3.     Although he also co-owned a condominium in the District of Columbia with his

sister, I believe that ULLAH resided in the Commonwealth and Eastern District of Virginia

during the course ofthis scheme. I have reason to believe that ULLAH caused the transmission

ofinterstate wires in and through the Eastern District of Virginia in furtherance of his scheme,

involving banking, telephonic and other wire transactions.

       4.      I am a special agent with the U.S. Department of State("DOS"), Office of

Inspector General("DOS OIG")and have been so employed since January 2017. Prior to

employment with DOS OIG,I was a special agent for the U.S. Department of State's Bureau of

Diplomatic Security for approximately ten years. Prior to becoming a special agent, I practiced

law in the Commonwealth of Virginia. In 2007,1 completed the Criminal Investigator Training

Program at the Federal Law Enforcement Training Center in Glynco, Georgia and the Bureau of

Diplomatic Security's Basic Special Agent Course in Dunn Loring, Virginia. My current



'The banner which appears upon logging into the USAGM computer system reads as follows:
"—^WARNING—^This system is for the use of authorized users only. Individuals using this
computer system without authority or in excess oftheir authority are subject to having all their
activities on this system monitored and recorded by system personnel. Anyone using this system
expressly consents to such monitoring and is advised that if such monitoring reveals possible
evidence of criminal activity system personnel may provide the evidence ofsuch monitoring to
law enforcement officials."
   Case 1:19-sw-00088-JFA Document 1 Filed 02/11/19 Page 8 of 33 PageID# 8




responsibilities include the investigation of violations of United States criminal laws,to include

procurement fraud, grant fraud,false claims, bribery, conspiracy, kickbacks, money laundering,

and other violations oflaws affecting the programs and functions ofthe DOS and USAGM.

During the course of my career, I have investigated or assisted in investigations concerning

public corruption, white-collar crime, computer-related crimes, passport and visa fraud, sexual

assault, and other complex investigations offraud, waste, and abuse involving government ftmds.

I hold a Bachelor's of Arts and Master of Arts degrees from George Mason University and a

Juris Doctor degree from George Mason University School of Law.

       5.      The facts and information contained in this Affidavit are based upon my training

and experience, personal knowledge, and observations during the course ofthis investigation, as

well as the observations ofother agents involved in this investigation. This Affidavit contains

only the information necessary to support probable cause and is not intended to include each and

every fact or matter observed by me or known to the government.

       6.      Based on the facts set forth in this Affidavit below as well as my training and

experience, I submit that there is probable cause to believe that violations of 18 U.S.C. § 1343

(Wire Fraud); 18 U.S.C. § 287(False, Fictitious and Fraudulent Claims), and 18 U.S.C. § 1028A

(Aggravated Identity Theft), have been committed by the user ofthe TARGET EMAIL

ACCOUNT.


                                        JURISDICTION


       7.      This Court has jurisdiction to issue the requested warrant because it is "a court of

competentjurisdiction" as defined by 18 U.S.C. § 2711. See 18 U.S.C. §§ 2703(a),(b)(1)(A)&

(c)(1)(A). Specifically, the Court is "a district court ofthe United States ...that- has

jurisdiction over the offense being investigated." 18 U.S.C. § 271 l(3)(A)(i).
   Case 1:19-sw-00088-JFA Document 1 Filed 02/11/19 Page 9 of 33 PageID# 9




                           STATEMENT OF PROBABLE CAUSE


                                           Background


       8.      USAGM is a government agency based in Washington, D.C. USAGM was

formerly known as the Broadcasting Board of Governors(BBG). USAGM is an independent

federal agency that seeks to inform, engage, and connect people around the world in support of

freedom and democracy. USAGM provides multimedia broadcast distribution, as well as

technical and administrative support to the broadcasting networks. It manages a global network

oftransmitting sites and an extensive system ofleased satellite and fiber optic circuits, along

with a rapidly growing Internet delivery system servicing all USAGM broadcasters. It is also the

administrative and marketing arm ofthe Agency. USAGM also oversees five networks: two

federal organizations — the Voice of America and the Office of Cuba Broadcasting, which

oversees Radio and TV Marti — Radio Free Europe/Radio Liberty, Radio Free Asia and the

Middle east Broadcasting Networks — which receive grants from USAGM.^ USAGM,like BBG

before it, is overseen by the Inspector General ofthe U.S. Department of State, for whom I work

as a special agent.

       9.      ULLAH was the Chief Strategy Officer("CSO")for USAGM and had been in

that position since October 1, 2017. According to his on-line biography, ULLAH "leads the

Agency's policy engagement within the broader U.S. government as well as with key

stakeholders outside the federal government. The CSO focuses on strategic planning and

initiatives to make the Agency more strategically relevant in the national security, foreign affairs,

and global media spheres."^ Before joining USAGM,ULLAH had been employed with the U.S.



2 See https://www.usagm.gov/who-we-are/organizational-chart/(last visited January 24, 2019).
^ See https://www.usagm.gov/who-we-are/management-team/(last visited January 24, 2019).
  Case 1:19-sw-00088-JFA Document 1 Filed 02/11/19 Page 10 of 33 PageID# 10




Department of State since 2010. ULLAH holds a Ph.D. degree, is a published author, and is a

recognized expert in countering violent extremism.

       10.     In his capacity as CSO for USAGM,ULLAH was authorized to travel by

USAGM at government expense only for official business. Such official travel for ULLAH's

trips was arranged and authorized via E2 Solutions("E2").

       11.     E2 Solutions ("E2'') is an end-to-end web-based travel and expense management

tool which provides a way to create and track travel authorizations, get approvals, submit

vouchers, receive reimbursements, and book travel reservations. E2 is supplied by Carlson

Wagonlit Travel SatoTravel, which provides global corporate travel services for various

government agencies, including USAGM and DOS. A traveler initiates a trip in E2 by creating

an authorization, which states the dates oftravel and the purpose ofthe travel. When the traveler

creates the authorization, the traveler also books travel and a unique trip number is generated to

capture a record ofthe authorization and reimbursement process for that particular trip. Within

E2,travelers have approvers for authorizations and vouchers. In my experience with E2,

approvers are usually supervisors or within the chain ofcommand oftravelers. Once travel is

completed, travelers submit vouchers and supporting documents to E2 for payments and/or

reimbursement.


       12.     Only official travel can be booked through E2. With every voucher submitted in

E2, USAGM travel policy states,"BBG may only reimburse travelers for expenses that are

essential and necessary for the conduct of official business." USAGM policy also states,"BBG

will disallow payment of a claimed expense if the item is not an official expense, is not

supported by documentation (such as a receipt or log), or is an unreasonable amount(such as a

taxi from BBG DC to National Airport for $74.99)." Travelers also are not permitted to list for
  Case 1:19-sw-00088-JFA Document 1 Filed 02/11/19 Page 11 of 33 PageID# 11




reimbursement costs covered by a third party. For example, iflunches or dinners are paid for as

part of a conference,travelers are to remove them from their voucher. E2 provides a mechanism

for travelers to deduct such expenses.

        13.    ULLAH sought administrative assistance from USAGM staff to arrange his travel

and to submit his vouchers into the E2 system for reimbursement by providing them with the

receipts from his travel. Within E2,travelers are required to certify that the vouchers and

documents they submit are true and accurate and that the traveler has not previously received

payment for the expenses. Because ULLAH had administrative staffsubmit his vouchers within

E2,the staff printed out the voucher along with the receipts and the certification form for

ULLAH to sign in hard copy. ULLAH signed the certification form for each of his closed

vouchers in E2.'^

        14.    ULLAH's approvers stated in interviews with me that they began questioning

ULLAH's authorizations because they were frequently scheduled within days ofthe proposed

travel and the reasons for travel were listed vaguely as "meetings." After a period of time,

ULLAH's approvers requested him to provide more detail for his authorizations. As a result,

some of ULLAH's latter travel authorizations included email correspondence from ULLAH

providing more detail for the purpose ofthe travel.

        15.    In or around September 2018, USAGM travel personnel questioned purported

Sheraton and Marriott hotel invoices that ULLAH had submitted for reimbursement through E2

for official travel to Chicago and New York. USAGM travel personnel noted that the hotel

invoices did not appear to be true Sheraton and Marriott invoices, due to the formatting and

content. Moreover,the amount billed for the room in New York was suspicious because the


"The certification contained the following language,"this voucher is true and correct to the best
of my knowledge and belief, and that payment or credit has not been received by me."
  Case 1:19-sw-00088-JFA Document 1 Filed 02/11/19 Page 12 of 33 PageID# 12




typical taxes and fees in New York City appeared to be incorrectly calculated. USAGM

personnel contacted the hotels and sent them copies ofthe suspicious invoices that ULLAH had

submitted. Hotel personnel confirmed that ULLAH had not stayed at either hotel on the dates

indicated; that the hotel invoices ULLAH had submitted did not match hotel-issued invoices; and

that the hotel had not produced the invoices submitted by ULLAH.

       16.    I obtained these suspicious invoices from USAGM for further investigation. I

have reviewed them. I requested from the hotels examples oftrue and correct invoices that they

would have issued a traveler. I also obtained all the hotel invoices submitted by ULLAH to

USAGM for reimbursement. I contacted these hotels as well to confirm the authenticity ofthe

invoices; whether ULLAH had stayed at their hotels; and to obtain examples oftrue and accurate

invoices in the instances the invoices submitted by ULLAH were fabricated. My conclusion from

my investigation is that ULLAH fabricated eleven(11)invoices he submitted to USAGM for

reimbursement, as further discussed below.

       17.    On October 22,2018,1 interviewed ULLAH regarding his travel. ULLAH said

his travel was "Just mostly work-related." When shown invoices for hotels submitted with his

vouchers, ULLAH stated,"That's probably what I tumed in." ULLAH also confirmed that

handwriting, which appeared on some ofthe hotel invoices, was his handwriting.

       18.    Immediately after I interviewed ULLAH,USAGM placed ULLAH on paid

administrative leave, on which he remains as ofthis writing. When ULLAH was placed on leave,

his official phones and computers were taken from him and he was walked out ofthe building.

On or aroimd October 22,2018, USAGM personnel imaged the TARGET EMAIL

ACCOUNT,thus preserving it. ULLAH has not had access to the TARGET EMAIL
  Case 1:19-sw-00088-JFA Document 1 Filed 02/11/19 Page 13 of 33 PageID# 13




ACCOUNT since he was placed on administrative leave. For these reasons and those stated

below, I believe relevant evidence remains in the TARGET EMAIL ACCOUNT.

                  Overview of Manner and Means of ULLAH's Scheme to Defraud

        19.    ULLAH devised a scheme to defraud USAGM of money and property by

submitting for reimbursement falsified hotel invoices; falsified taxi receipts; double-billing

sponsors and USAGM for the same trips; and billing USAGM for what appear to be personal

trips, either to promote his book, or for week-end trips during which no USAGM business was

likely conducted. Also, ULLAH submitted to USAGM a falsified and forged letter from a real

medical doctor claiming that ULLAH required an upgrade to business class because ofa medical

condition. The doctor confirmed that the letter was a forgery; that he did not authorize ULLAH

to use his identity; and that a business class upgrade for ULLAH's sore knee was not medically

necessary. By stealing the doctor's identity, ULLAH,thus, also defrauded USAGM of all

payments for business class upgrades, some of which were substantial, as they involved

intemational flights. Altogether, based on a preliminary review of his travel records, it appears

that ULLAH defrauded USAGM of at least $25,000, and committed aggravated identity theft in

so doing.

       20.     Based upon my analysis ofthe falsified and fraudulent documents that ULLAH

submitted to USAGM for reimbursement, it appears that he used various techniques to create

hotel, Uber and taxi receipts. With some hotel invoices, ULLAH seems to have obtained logos of

hotel chains and pasted them onto a document along with what appears to be Excel spreadsheets

to create hotel invoices. With other hotel invoices, it appears he took a legitimate hotel invoice

and changed his address or other data, possibly to conceal the hotel room had been paid by a

third-party. It is possible he also obtained invoice creation software to create these invoices. In
  Case 1:19-sw-00088-JFA Document 1 Filed 02/11/19 Page 14 of 33 PageID# 14




the case of an Uber receipt, it looks like ULLAH cut-and-pasted different parts of different Uber

receipts to create one receipt. It also seems ULLAH obtained taxi card receipts from different

taxi companies across the country and then photocopied them, submitting handwritten amounts,

despite having Uber receipts for the same travel dates and routes, at substantially lower cost.

Illustrative examples ofthe crimes are discussed in more detail below.

                   Trip #9018448- Boston. Massachusetts- February 21-23.2018

       21.     ULLAH submitted a voucher to USAGM for E2 Trip #9018448 for travel to

Boston from February 21 to February 23,2018 for the purpose of meeting with "Digital

Democracy" and "data teams" on BBG. As stated above, official travel arranged through B2

must be business-related to the USAGM mission. In fact, I later learned that ULLAH had

reached out to the World Affairs Council for Western Massachusetts(hereafter"WACWM")to

speak at one ofits events to promote the release of ULLAH's new book. Records that I received

from WACWM indicated that ULLAH was working with a publicist and that copies of his new

book would be sold at the event. From its website, I located the presentation ULLAH gave on

February 21 at the WACWM.^ I believe it is probable that the TARGET EMAIL ACCOUNT

will have further evidence that this trip to Boston was not for official USAGM business, but for

ULLAH's personal business.

       22.     In addition to the questionable purpose for the trip, evidence indicates that

ULLAH submitted falsified taxi receipts to inflate the value of his reimbursement claim. For this

trip, in order to obtain reimbursement for expenses, ULLAH provided to USAGM what appear

to be photocopies oftaxi cards with an area code of"408," which is an area code in California.



^"How Do We Stop the Next World War: The Weaponization ofInformation and the Fight for
Cyber Supremacy,"See https://worldaffairscouncil.com/?page_id=231 (last visited January 24,
2019).
  Case 1:19-sw-00088-JFA Document 1 Filed 02/11/19 Page 15 of 33 PageID# 15




Both receipts were for travel within the Washington, D.C. metro area (to and from ULLAH's

residence in Arlington to Reagan National Airport). The first taxi receipt has "$75" handwritten

in the total amount and handwritten next to the photocopy ofthe taxi card is "Feb. 21,2018

home to Airport." The second taxi receipt has "$78" handwritten in the total amount and

handwritten next to the photocopy ofthe tax card is "Feb. 23,2018 Airport to home." Based on

my review of Uber receipts ULLAH submitted xmder a separate reimbursement outside ofthe E2

system, I believe that ULLAH falsified these two taxi receipts.

        23.    As indicated, ULLAH submitted Uber receipts under a separate reimbursement

procedure. Within the federal government, there is a mechanism to receive reimbursement for

work-related expenses not related to travel. The mechanism used by federal employees,

including those working for USAGM,is the Standard Form 1164 "Claim for Reimbursement for

Expenditures on Official Business." Such expenditures would be for items like taxi rides to and

from an official meeting or parking fees when attending an official event. ULLAH submitted a

Standard Form 1164 dated September 6,2018 (hereafter "September SF 1164"), which included

Uber receipts from February 21, 2018 until June 27, 2018. The September SF 1164 was

submitted completely separately from any voucher submitted through E2. It was in short, a claim

with many receipts covering three months of miscellaneous expenditures supposedly related to

work.


        24.    With the September SF 1164, ULLAH submitted an Uber receipt dated February

21,2018 in the amount of$12.70. The trip was from 2498 Army Navy Drive, Arlington,

Virginia(which is a cross road near ULLAH's residence at the time on 26'^ Street in Arlington)

to 4 South Smith Boulevard in Arlington, which is located on the property of Reagan National

Airport. Uber recorded the pick-up time as 6:05 a.m. and the drop-offtime as 6:12 a.m.




                                               10
  Case 1:19-sw-00088-JFA Document 1 Filed 02/11/19 Page 16 of 33 PageID# 16




According to E2 travel records, ULLAH's flight was scheduled to depart at 7:30 a.m. from

Reagan National Airport.

       25.     With September SF 1164, ULLAH submitted an Uber receipt dated February 23,

2018 in the amount of$14.72. The trip was from 4 Aviation Circle in Arlington, which is also

located on the property of Reagan National Airport to ULLAH's residence at the time on 26''^
Street in Arlington. Uber recorded the pick-up time as 9:50 a.m. and according to E2 records

ULLAH's flight from Boston was scheduled to land at 8:51 a.m.

       26.     I also obtained ULLAH's Uber account records directly from Uber. ULLAH's

Uber submissions on the September SF 1164 form appear to match the records I obtained from

Uber,and thus, represent the true cost ofthe rides. Those Uber records provide a time stamp, a

map and address ofpick-ups and drop-offs. Based on my comparison ofthe Uber records against

the official travel and the taxi receipts that ULLAH submitted to USAGM for E2 reimbursement,

I believe ULLAH submitted materially falsified taxi receipts in order to inflate his

reimbursement claim. I have conducted similar analysis of ULLAH's other official trips billed

through E2, comparing the Uber records against taxi receipts he submitted for official

reimbursement. I am confident that the same pattern repeats itself in a number of other trips

during the relevant time period.^

       27.     The voucher for this trip to Boston was approved on March 28,2018. To the best

of my belief, USAGM sent by electronic draft $1,012.76 to ULLAH's bank account.




^ For instance, for E2 Trip #9063858-2(Austin, Texas,from March 8, 2018 to March 14, 2018),
ULLAH submitted two ofthe same type oftaxi receipts with the 408 area code as discussed in
this section, for rides to and from home to Washington Dulles Airport, for $76.00 and $7800
respectively. Again,the Uber receipts show the actual trips to have cost less.


                                                11
  Case 1:19-sw-00088-JFA Document 1 Filed 02/11/19 Page 17 of 33 PageID# 17




                       Trip #9102190-1 - Chicago. Illinois- March 23-25.2018


       28.     For E2 Trip #9102190-1, ULLAH stated in the Travel Authorization that he

would be traveling from March 23,2018 to March 25,2018 to Chicago, Illinois, with the official

purpose of"Meeting in Chicago OIF." I have been unable to determine what"Chicago OIF"

means. Moreover,these dates fell on a weekend. To date, I cannot confirm any official meeting

ULLAH had in Chicago. I believe there is probable cause that the TARGET EMAIL

ACCOUNT may contain communications indicating the true purpose of ULLAH*s travel to

Chicago; whether a third party paid for his travel expenses; and it may contain fiirther evidence

of ULLAH's creation of a falsified Sheraton hotel invoice, as discussed below.

       29.     ULLAH provided to USAGM an invoice allegedly from Sheraton Chicago

O'Hare Airport for the dates ofMarch 23,2018 to March 25,2018 in the amount of$254.87. As

discussed above,representatives ofthe Sheraton Chicago O'Hare Airport stated to USAGM

personnel that the invoice ULLAH submitted was not a valid document from the hotel and that

ULLAH had not stayed at the hotel on the dates listed. As discussed above, I also obtained

examples of a true Sheraton Chicago O'Hare Airport invoice that the hotel would have issued to

a traveler, and I have verified that the invoice ULLAH submitted does not match the true format

that the hotel used.


       30.     ULLAH submitted to USAGM what appear to be the same taxi cards with the

"408" area code as mentioned above. For the first taxi receipt, handwritten in the total amount is

"74" and written next to the receipt is "Home to Airport taxi Chicago trip." Uber records show a

trip dated March 23,2018 from 1623 Army Navy Drive in Arlington to 2 Aviation Circle in

Arlington(which is located on the property of Reagan National Airport)in the amount of$12.22.




                                                12
  Case 1:19-sw-00088-JFA Document 1 Filed 02/11/19 Page 18 of 33 PageID# 18




        31.     ULLAH also included a taxi receipt with "$76" handwritten in the total amount

and written next to the receipt is "Airport to Home Chicago trip." Uber records show a trip dated

March 25, 2018 beginning at 2401 South Smith Boulevard in Arlington, which is located on the

property of Reagan National Airport. The trip ended at 1243 South Eads Street in Arlington,

which was near ULLAH's residence at the time on 26'*' Street. The amount ofthe Uber trip was

$13.76. ULLAH also submitted this Uber receipt in the September SF 1164, mentioned above.

        32.    The voucher for E2 Trip #9102190-1 was approved on July 25,2018, and to the

best of my knowledge and belief, USAGM sent by electronic funds transfer $661.87 to

ULLAH's bank account ofrecord.


                       Trip #9299972-3- Cologne. Germanv -June 10-13.2018

       33.     For E2 Trip #9299972-3, ULLAH stated he would be traveling to Cologne,

Germany from June 10, 2018 to June 13, 2018. The purpose ofthe official travel was listed as

"Deutsche Welle Global Media Forum."


       34.     It was during this trip that ULLAH emailed USAGM personnel via the TARGET

EMAIL ACCOUNT to request a waiver for an upgrade to Business Class for his return flight to

the United States. ULLAH claimed that he had a medical condition which required him to have

extra leg room on his return flight to the United States from Germany. USAGM personnel

informed ULLAH that he could pay for the upgrade and would be reimbursed once he provided a

doctor's note requiring the medical accommodation.

        35.    ULLAH later provided USAGM with a letter allegedly written by a true medical

doctor on "The Bone and Joint Center" letterhead. The letter stated that ULLAH had a

degenerative knee condition known as patella tendonopathy and for flights longer than one hour

in duration he was to "lie flat."




                                               13
  Case 1:19-sw-00088-JFA Document 1 Filed 02/11/19 Page 19 of 33 PageID# 19




       36.     On November 15,2018,1 interviewed the doctor at his practice location in the

Eastern District of Virginia. He stated that he was not with "The Bone and Joint Center" and that

he had not written the letter that ULLAH submitted to USAGM.He said the signature on the

false letter was not his and that he would never require an accommodation ofbusiness class air

travel for such a patient. The doctor knew ULLAH personally and had seen him once or twice as

a patient. The doctor stated that it was not medically necessary for ULLAH to travel in business

class, and that he had never given ULLAH permission to sign his name or use his identity in

furtherance ofa reasonable accommodation or any claim for reimbursement from the

government for travel expenses. I obtained examples ofthe doctor's true practice group

letterhead and his true signature. A comparison of the true documents against what ULLAH

submitted to USAGM indicates that ULLAH forged the doctor's signature and created a false

docmnent mixing true and fabricated information. I found the doctor to be credible.

       37.     ULLAH submitted a credit card receipt dated June 11, 2018 in the amount of

$1,040.00 and a credit card receipt dated June 12,2018 in the amount of$599.00, both for

business class upgrades as part of his voucher for Trip #9299972-3.

       38.    The voucher for Trip #9299972-3 was approved on July 23,2018 and to the best

of my knowledge and belief USAGM sent via electronic funds transfer $2,829.68 to ULLAH's

bank account ofrecord.


                      Trip #9431001- New York. New York - Julv 13-15.2018


       39.    For E2 Trip #9431001, ULLAH stated in the Travel Authorization that he would

be traveling from July 13, 2018 to July 15,2018 to New York City. ULLAH stated the purpose

of the official travel was for "Meetings." Using the TARGET EMAIL ACCOUNT,ULLAH

informed his approvers in E2 that he would be meeting with "Jigsaw" and a "potential partner for




                                               14
  Case 1:19-sw-00088-JFA Document 1 Filed 02/11/19 Page 20 of 33 PageID# 20




our scaling up ofpolygraph."' But July 13, 2018 fell on a Saturday, and I have not been able to

determine whether there was actually any true official purpose for the travel. I believe it is

probable that the TARGET EMAIL ACCOUNT will contain correspondence regarding the

true reason for ULLAH's travel to New York City, or the absence of a legitimate official

business purpose, as well as drafts or templates ofthe falsified hotel invoice he submitted for

reimbursement for this trip, as discussed below.

       40.     For reimbursement for this trip, ULLAH submitted a hotel invoice allegedly

issued by the Marriott New York Downtown for the nights of July 13 and July 14,2018 in the

amount of$774.56. A representative ofthe Marriott New York Downtown informed me that the

invoice was not issued by the hotel and ULLAH had not stayed at the hotel.

       41.     The voucher for Trip #9431001 was approved on September 24,2018 and to the

best of my knowledge and belief USAGM sent via electronic funds transfer $1,287.53 to

ULLAH's bank account ofrecord.


                  Trip #9470915-London and New York -July 29-August 6.2018

       42.     For E2 trip #9470915, ULLAH submitted a voucher for travel to London,

England and New York from July 29,2018 to August 6,2018. ULLAH stated the purpose ofthe

trip was for "meetings."

       43.     ULLAH submitted an invoice allegedly from the St. Ermin's Hotel in London in

the amount of$1,260.24.1 confirmed with St. Ermin's Hotel that the invoice submitted by

ULLAH was not issued by the hotel and ULLAH had not stayed at the hotel.




^ Jigsaw is a division of Google. Polygraph is a data analytics company.


                                                 15
  Case 1:19-sw-00088-JFA Document 1 Filed 02/11/19 Page 21 of 33 PageID# 21




         44.   ULLAH submitted an invoice allegedly from the Residence Inn Central Park in

the amount of$745.20.1 confirmed with the Residence Inn that the invoice was not issued by the

hotel and ULLAH did not stay at the hotel.

         45.   The travel to New York was over a weekend. To date, I have not been able to

locate any"BBG partners" who met with ULLAH on these dates.

         46.   ULLAH traveled in business class per the fraudulent medical waiver discussed

above.


                     Trip #9530503- Geneva. Switzerland - August 16-19.2018


         47.   For E2 Trip #9530503, ULLAH stated in the Travel Authorization that he would

be traveling from August 16, 2018 to August 19, 2018 to Geneva, Switzerland. ULLAH stated

that the purpose ofthe official travel was to attend the "Concordia Media Conference."

         48.   ULLAH travelled business class per the fraudulent medical waiver discussed

above. The business class ticket cost USAGM $10,337.26, whereas an economy ticket would

have cost substantially less.

         49.   ULLAH submitted a hotel invoice allegedly from the Caux Palace in Montreux,

Switzerland. A representative ofthe Caux Palace stated the hotel invoice submitted by ULLAH

was not issued by the Caux Palace.

         50.   ULLAH also submitted what he claimed to be an Uber receipt in the amount of

$57.83 dated August 19, 2018. The receipt appears to be a mix of different receipts copied and

pasted together because one section states the charge was $7.83 while another has $57.83. The

receipt is cut and pasted into what appears to be an email header from the TARGET EMAIL

ACCOUNT,which ULLAH provided to USAGM to support his reimbursement claim. This

receipt, however, does not resemble any other Uber receipt provided by Uber directly to me,or




                                               16
  Case 1:19-sw-00088-JFA Document 1 Filed 02/11/19 Page 22 of 33 PageID# 22




by ULLAH. Uber confirmed that there was no record of ULLAH using its services on August

19, 2018.

       Trip #9566094-Los Angeles and San Diego. California - August 29-31.2018

       51.     For E2 trip #9566094, ULLAH stated in an email dated August 23,2018 to the

Managing Director of USAGM that he was travelling to Los Angeles and San Diego to speak at

the World Affairs Councils in both cities "to present on polygraph and raise awareness on our

very good of our storytellers." He also stated that he would be traveling there to meet with

"Fandango" and "other analytic folks."

       52.     ULLAH submitted an invoice from the Residence Inn in La Jolla, California. The

billing address on the Residence Inn invoice ULLAH submitted to USAGM for reimbursement

was "330 Independen Wash DC," which is an abbreviated version of USAGM's billing address

of330 Independence Avenue SW,Washington, D.C. 20237. When the hotel was contacted to

verify the validity ofthe invoice, a hotel representative confirmed that ULLAH stayed at the

hotel on August 30,2018; however,the true billing address on the hotel's copy ofthe invoice for

ULLAH's stay was 112 West G Street, #601, San Diego, California 92101, which is the address

ofthe San Diego World Affairs Council, not USAGM as listed on the version ofthe hotel

invoice ULLAH had submitted for reimbursement. I confirmed with the San Diego World

Affairs Council that the organization paid for ULLAH's hotel stay and that they shared the costs

of ULLAH's travel with the Inland Southern California World Affairs Council. San Diego World

Affairs Council also confirmed that both organizations requested ULLAH speak based upon his

personal reputation and not on behalfof USAGM.




                                                17
  Case 1:19-sw-00088-JFA Document 1 Filed 02/11/19 Page 23 of 33 PageID# 23




        53.    Documents received from both Inland Southern California World Affairs Council

and the San Diego World Affairs Council show email exchanges between representatives ofthe

organizations and ULLAH,using the TARGET EMAIL ACCOUNT.

        54.    I confirmed with Inland Southern California that a check in the amount of

$1,033.40 was mailed to ULLAH. The organization's records show it was cashed on October 2,

2018.


                   Trip #9610066- New York. New York- September 9-10.2018

        55.    For E2 Trip #9610066, ULLAH stated in the Travel Authorization that he would

be traveling from September 9,2018 to September 10, 2018 to New York City. ULLAH stated

the purpose ofthe official travel was for "Meetings with Affiliates." In an email to his E2 travel

approvers, ULLAH stated he was going to meet with personnel from Tapestry- a media entity.

        56.    I spoke with a Director of Tapestry who informed me that neither he nor other

personnel from Tapestry met with ULLAH in New York. All their contact with USAGM is done

through London and ULLAH is not one oftheir contacts. They also said they rarely meet on

weekends.


        57.    ULLAH submitted an invoice from the Grand Hyatt in New York in the amount

of$270.92. Personnel from the Grand Hyatt stated the invoice was not issued by the hotel and

ULLAH had not stayed at the hotel.

        58.    For this trip, ULLAH also was to travel to and from New York via Amtrak. After

the trip was completed, the USAGM travel office was notified that ULLAH transferred his ticket

from his name to that of his wife. When asked in the interview with DOS GIG, why the Amtrak

ticket was reissued to his wife, ULLAH responded,"I don't remember that trip exactly. It

might've been that I -1 don't know whether that's actually -1 can look back at that and get you




                                                18
  Case 1:19-sw-00088-JFA Document 1 Filed 02/11/19 Page 24 of 33 PageID# 24




the information. But I think what it was is that I probably ended up driving, so then I got an e-

voucher, probably, and then, and then I, you know,she was,she was, she was traveling by train

and Ijust had her use the e-voucher because anyone can use the e-voucher." I pointed out that

the Amtrak ticket was issued by the government. ULLAH responded,"Yeah. I-that's my

mistake, then, if that happened. I thought-1 think what I probably should've done is changed it

to get-from them to cover my-1just thought,"Okay. I'm going to- I'll pay the cost for

driving up and then whatever I do,I'm going to pay for the Amtrak and then"- but that, but that,

that'd by my mistake if that's what happened. I don't remember the exact incident, but if that's

what happened, that's my mistake."

         59.   The voucher for Trip #9610066 was approved on September 24,2018 and to the

best of my knowledge and belief USAGM sent via electronic funds transfer $434.84 to

ULLAH's bank account ofrecord.


                        Trip #9636200-Rome,Italy -September 18-23.2018

         60.   For E2 Trip #963239, ULLAH stated in the Travel Authorization that he would be

traveling from September 18,2018 to September 23, 2018 to Rome,Italy. ULLAH stated the

purpose ofthe trip was to attend the 'TSIATO Stratcomm Summit."

         61.   ULLAH submitted a receipt in the amount of$2,650.00 dated September 14,

2018 for an upgrade to business class for his flight from Washington Dulles Airport to Rome.

ULLAH submitted a receipt dated September 15, 2018 in the amount of$2,924.00 for an

upgrade to business class for his flight from Rome to Washington Dulles Airport. Both requests

for reimbursement for the upgrades was based upon the fraudulent medical waiver discussed

above.




                                                19
  Case 1:19-sw-00088-JFA Document 1 Filed 02/11/19 Page 25 of 33 PageID# 25




       62.     ULLAH submitted an invoice allegedly issued by the Westin in Rome,Italy. But

a representative ofthe Westin in Rome informed me that the invoice was not issued by the hotel

and ULLAH had not stayed at the hotel.

                   RELEVANCE OF THE TARGET EMAIL ACCOUNT


       63.     As indicated above, the documents I have obtained from third parties indicate that

ULLAH used the TARGET EMAIL ACCOUNT to facilitate his appearances at speaking

events where his book was promoted and sold, but for which he billed USAGM as official travel.

The TARGET EMAIL ACCOUNT was used for other travel-related purposes, and a search of

the accounts is likely to reveal the true propose ofthe travel, or the absence ofa business

purpose. I also submit that there is probable cause to believe that the TARGET EMAIL

ACCOUNT will contain invoices, receipts, and other evidence of ULLAH's travel. Likewise, it

may contain templates, receipts, and communications showing the preparatory steps ULLAH

took to create false documents, and otherwise will constitute evidence, fruits, and

instrumentalities ofthe crimes described in this affidavit.

       64.     I know also from training and experience that individuals, including white collar

criminals,tend to maintain such records for lengthy periods oftime, especially when they are

engaged in ongoing or uncharged criminal conduct. There are many reasons why criminal

offenders maintain evidence for long periods oftime. The evidence may be innocuous at first

glance (e.g., financial, credit card, travel documents,telephone directories, photographs), but

have significance and relevance when considered in light ofother evidence. The criminal

offender may no longer realize he/she still possesses the evidence or may believe law

enforcement could not obtain a search warrant to seize the evidence. The criminal offender may




                                                20
  Case 1:19-sw-00088-JFA Document 1 Filed 02/11/19 Page 26 of 33 PageID# 26




also be under the mistaken belief that he/she has deleted, hidden or further destroyed the

evidence, which, in fact, may be retrievable by trained law enforcement personnel.

                           BACKGROUND CONCERNING EMAIL


         65.   From my training and experience, I have learned that USAGM provides all

employees an e-mail account upon hiring. Upon creation ofthe account, USAGM would use

information linked to the employee's identity. The computers and servers of USAGM are likely

to contain stored electronic communications(including retrieved and un-retrieved e-mail for

USAGM employees)and information concerning employees and their use oftheir USAGM e-

mail account, such as account access information, e-mail transaction information, and accoimt

application information. In my training and experience, such information may constitute

evidence ofthe crimes under investigation because the information can be used to identify the

account's user or users.


         66.   A USAGM employee can also store with the provider files in addition to e-mails,

such as address books, contact or buddy lists, calendar data, pictures (other than ones attached to

e-mails), and other files, on servers maintained and/or owned by USAGM.In my training and

experience, evidence of who was using an e-mail account may be foimd in address books,

contact or buddy lists, e-mail in the account, and attachments to e-mails, including pictures and

files.


         67.   From my training and experience, I know that e-mail providers typically retain

certain transactional information about the creation and use ofeach account on their systems.

This information can include the date on which the account was created, the length ofservice,

records oflog-in (i.e., session) times and durations, the types ofservice utilized, the status ofthe

account(including whether the account is inactive or closed), the methods used to connect to the




                                                 21
  Case 1:19-sw-00088-JFA Document 1 Filed 02/11/19 Page 27 of 33 PageID# 27




account(such as logging into the account via the provider's website), and other log files that

reflect usage ofthe account. In addition, e-mail providers often have records ofthe Internet

Protocol address("IP address") used to register the account and the IP addresses associated with

particular logins to the account. Because every device that connects to the Internet must use an

IP address, IP address information can help to identify which computers or other devices were

used to access the e-mail account.


       68.     This application seeks a warrant to search all responsive records and information

under the control of USAGM,an agency subject to the jurisdiction ofthis Court, regardless of

where USAGM has chosen to store such information. The government intends to require the

disclosure pursuant to the requested warrant ofthe contents of wire or electronic

communications and any records or other information pertaining to the employee ifsuch

communication, record, or other information is within USAGM's possession, custody, or control,

regardless of whether such communication, record, or other information is stored, held, or

maintained outside the United States.


       69.     As explained herein, information stored in connection with an email account may

provide crucial evidence ofthe "who, what, why, when, where, and how" ofthe criminal conduct

under investigation, thus enabling the United States to establish and prove each element or

alternatively, to exclude the innocent from further suspicion. In my training and experience, the

information stored in connection with an email account can indicate who has used or controlled

the account. This "user attribution" evidence is analogous to the search for "indicia of

occupancy" while executing a search warrant at a residence. For example, email

communications, contacts lists, and images sent(and the data associated with the foregoing, such

as date and time) may indicate who used or controlled the account at a relevant time. Further,




                                                22
  Case 1:19-sw-00088-JFA Document 1 Filed 02/11/19 Page 28 of 33 PageID# 28




information maintained by the email provider can show how and when the account was accessed

or used. For example, as described below,email providers typically log the Internet Protocol(IP)

addresses from which users access the email accoimt, along with the time and date ofthat access.

By determining the physical location associated with the logged IP addresses, investigators can

xmderstand the chronological and geographic context ofthe email account access and use relating

to the crime under investigation. This geographic and timeline information may tend to either

inculpate or exculpate the account owner.

       70.     Additionally, information stored at the user's account may fiirther indicate the

geographic location ofthe account user at a particular time (e.g., location information integrated

into an image or video sent via email). Last, stored electronic data may provide relevant insight

into the email account owner's state of mind as it relates to the offense under investigation. For

example,information in the email account may indicate the owner's motive and intent to commit

a crime (e.g., communications relating to the crime), or consciousness of guilt (e.g., deleting

communications in an effort to conceal them from law enforcement).

                                         CONCLUSION


       71.     In sum,based on the facts set forth in this Affidavit, I submit that there is

probable cause to believe that the user ofthe TARGET EMAIL ACCOUNT did commit wire

fraud,in violation of Title 18 U.S.C. § 1343; aggravated identity theft, in violation of Title 18

U.S.C. § 1028A; and submitted false claims,in violation of 18 U.S.C. § 287. Thus, I respectfully

request the issuance of a Search Warrant for the TARGET EMAIL ACCOUNT.

                              REQUEST FOR SEALING ORDER

       72.     I further request that the Court order that all papers in support ofthis application,

including the affidavit and search warrant, be sealed until further order ofthe Court, and that




                                                 23
  Case 1:19-sw-00088-JFA Document 1 Filed 02/11/19 Page 29 of 33 PageID# 29




USAGM be ordered not to disclose the existence ofthe search warrant to the account

user, as articulated in the government's separate application. Premature disclosure would

reveal an ongoing criminal investigation that is now neither public nor known to the

target ofthe investigation. Were ULLAH to learn prematurely that the investigation is

criminal in nature, he may attempt to delete or destroy other evidence, or to influence

witnesses improperly.

                                             Respectfully Submitted,




                                             Lisa Warffeli
                                             Special Agent
                                             United States Department of State Office ofthe
                                             Inspector General

Subscrij^d^d sworn to before me
thisIFday ofFebruary, 2019
              Is/
John F. Anderson
United States Magistrate Judge
The Honorable John F. Anderson
United States Magistrate Judge




                                                24
  Case 1:19-sw-00088-JFA Document 1 Filed 02/11/19 Page 30 of 33 PageID# 30




                                     ATTACHMENT A


                                   Property to be Searched

This warrant applies to information associated with the following email account:

       hullah@usagm.gov (formerly hullah@bbg.gov)

which is stored at premises controlled by USAGM,a government agency headquartered at 330

Independence Avenue SW,Washington, D.C. 20237.
  Case 1:19-sw-00088-JFA Document 1 Filed 02/11/19 Page 31 of 33 PageID# 31




                                       ATTACHMENT B


                                 Particular Things to be Seized

   I.        Information to be disclosed by USAGM("USAGM")

        For the account listed in Attachment A,to the extent that the information described in

Attachment A is within the possession, custody, or control of USAGM,including any e-mails,

records, files, logs, or information that has been deleted but is still available to USAGM,or has

been preserved since approximately October 30,2018, USAGM is required to disclose the

following information to the government for the period ofaccount inception to the present:

        a.      The contents of all electronic communications associated with the account,

including stored or preserved copies of e-mails sent to and from the account, draft e-mails, files,

all attachments to emails and other communications(including the native files), the source and

destination addresses associated with each communication, all email header information, the date

and time at which each e-mail was sent, and the size and length of each e-mail;

        b.      All records or other information regarding the identification ofthe accoimt, to

include full name, physical address, telephone numbers and other identifiers, records ofsession

times and durations, the date on which the account was created, the length of service, the IP

address used to register the account, log-in IP addresses associated with session times and dates,

account status, altemative e-mail addresses provided during registration, methods of connecting,

log files, and means and source of payment(including any credit or bank account number);

        c.      The types ofservice utilized;

        d.      All device information associated with the account;
  Case 1:19-sw-00088-JFA Document 1 Filed 02/11/19 Page 32 of 33 PageID# 32




          e.      All records or other information stored at any time by an individual using the

account, including address books, contact and buddy lists, chat lists, calendar data, pictures, and

files;

          f.      All records pertaining to communications between USAGM and any person

regarding the account, including contacts with support services and records of actions taken.

          g.      For all information required to be disclosed pursuant to this warrant, the physical

location or locations where the information is stored.


    II.        Information to be seized by the government

          All information described above in Section I that constitutes finits, contraband, evidence

and instrumentalities of violations of wire fraud (18 U.S.C. § 1343), aggravated identity theft

(18 U.S.C. § 1028A),and false claims(18 U.S.C. § 287), involving HAROON K. ULLAH and

any other co-conspirators, including, for the email account listed on Attachment A,information

pertaining to the following matters:

          a.      The email and information will contain evidence that ULLAH is involved in

defrauding the United States through the submission offraudulent vouchers, falsified supporting

invoices, receipts, and letters, as described in the Affidavit in support ofprobable cause. The

account will contain evidence ofcommunications between ULLAH,USAGM,and third parties

in furtherance of his wire fraud,false claims and identity theft schemes;

          b.      Information relating to templates, receipts, communications, logos, photos,

bitmap files, and other fragments of documents and document history showing the preparatory

steps ULLAH took to create false documents;
  Case 1:19-sw-00088-JFA Document 1 Filed 02/11/19 Page 33 of 33 PageID# 33




        c.     Information relating to the use ofthe criminal proceeds, the creation and

maintenance of financial accounts, financial transfers and transactions, the possession of

monetary instruments, the disbursement offimds;

        d.     Information related to hotel invoices and/or reservations, travel plans, taxi

receipts, ridesharing receipts, airline tickets, airline receipts, vehicle rental agreements, or other

documents pertaining to any airline U.S. or foreign-based;

        e.     Information relating to who created, used, or communicated with the account,

including records about their identities and whereabouts;

        f.      Evidence indicating the email account holder's state of mind as it relates to the

crime under investigation;

        g.     Information that would link the email account to other email accounts controlled

by the subscriber;

        h.      Evidence indicating how and when the email account was accessed and used,

including IP logs, passwords, geo-locational information or other records that will help establish

the location ofthe account user.
